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14
                                UNITED STATES DISTRICT COURT
15
                             NORTHERN DISTRICT OF CALIFORNIA
16
                                         SAN FRANCISCO DIVISION
17

18
     LAURA LOOMER, as an individual, LAURA
19   LOOMER, in her capacity as a Candidate for            Case No. 3:22-cv-02646-LB
20   United States Congress, and LAURA LOOMER
     FOR CONGRESS, INC.,                                   META PLATFORMS, INC. AND
21                                                         MARK ZUCKERBERG’S NOTICE OF
                           Plaintiffs,                     MOTION AND MOTION TO DISMISS;
22                                                         MEMORANDUM OF POINTS AND
            v.
                                                           AUTHORITIES IN SUPPORT
23   META PLATFORMS, INC., MARK                            THEREOF
24   ZUCKERBERG, in his capacity as CEO of Meta
     Platforms, Inc. and as an individual, TWITTER,
25   INC., and JACK DORSEY, in his capacity as             Hon. Laurel Beeler
     former CEO of Twitter, Inc. and as an individual,     Courtroom B, 15th Floor
26                                                         Date: September 15, 2022
                           Defendants.                     Time: 9:30 a.m.
27

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      CASE NO.   3:22-CV-02646-LB                             x              META AND MR. ZUCKERBERG’S NOTICE
                                                                            OF MOT. & MOT. TO DISMISS; MEMO. ISO
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 1                       NOTICE OF MOTION AND MOTION TO DISMISS

 2          PLEASE TAKE NOTICE THAT, on September 15, 2022 at 9:30 am or as soon thereafter

 3   as the matter may be heard, in Courtroom B of the U.S. District Court for the Northern District of

 4   California, San Francisco Division, this Motion to Dismiss will be heard. Meta Platforms, Inc. and

 5   Mark Zuckerberg move to dismiss the Complaint pursuant to Federal Rule of Civil Procedure

 6   12(b)(6). This Motion to Dismiss is based on this Notice of Motion, the Memorandum of Points

 7   and Authorities, and the supporting Declaration of Emily Barnet.

 8                              STATEMENT OF REQUESTED RELIEF

 9          Meta and Mark Zuckerberg request that the Court dismiss the Complaint with prejudice.

10                       MEMORANDUM OF POINTS AND AUTHORITIES

11          Meta suspended and then banned Laura Loomer from the Facebook platform for violating

12   its policies against hate speech and dangerous individuals and organizations. This is Loomer’s

13   fourth lawsuit challenging those decisions, having previously failed at the pleadings stage on

14   antitrust and First Amendment claims and having abandoned her defamation claims. Her latest

15   theory is that Meta and its CEO Mr. Zuckerberg (collectively “Meta”) allegedly removed her

16   account as part of a racketeering enterprise with defendants Twitter and its former CEO Jack

17   Dorsey (collectively “Twitter”), as well as others, that used “the pretext of ‘hate speech’ as a cover

18   for committing” “illegal predicate acts,” including “advocating the overthrow of the government.”

19   Compl. ¶ 30. She seeks billions in damages and asks the Court to order Meta to stop removing

20   content that violates its policies against hate speech and dangerous individuals and organizations.

21          Over the course of 132 pages and 369 allegations, Loomer’s Complaint contains hardly

22   any allegations that even arguably relate to her baseless claims. Scores of her allegations complain

23   of conduct by non-defendants and actions that she does not even attempt to link to her alleged

24   injuries. Despite its prodigious length, the Complaint describes no actionable conduct by Meta at

25   all, let alone a viable RICO claim. Her claims fail for several, independent reasons.

26          First, Loomer’s claims are barred by the doctrine of res judicata. She previously stipulated

27   to a with-prejudice dismissal of a suit raising claims based on the removal of her Facebook account.

28   She cannot recycle those same claims here under the guise of a RICO suit.
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 1             Second, Loomer’s RICO claims suffer from numerous independent and incurable defects.

 2   At the outset, RICO must be narrowly construed here because the challenged conduct—Meta’s

 3   exercise of editorial control and judgment over the content it displays on its privately owned

 4   website—is protected by the First Amendment. Moreover, Loomer has failed to plausibly allege

 5   the essential elements of an enterprise, a pattern of racketeering activity, or a cognizable RICO

 6   injury. And most fundamentally, Loomer fails to plausibly allege a single RICO predicate act. That

 7   is all unsurprising given that RICO is concerned with organized, long-term criminal activity, not

 8   garden-variety claims like this challenge to Meta’s decision to ban Loomer from Facebook.

 9             Third, because Loomer fails to state a substantive RICO claim, her RICO conspiracy claim

10   fails as well. Her conspiracy claim also fails for the independent reason that she does not plausibly

11   allege an unlawful agreement among Defendants.

12             Fourth, Loomer’s claims are independently barred by Section 230 of the Communications

13   Decency Act, which protects Meta and its CEO Mr. Zuckerberg, as providers of a website, from

14   liability for removing content or disabling accounts on Facebook.

15             Counsel for Meta and Mr. Zuckerberg informed Loomer in a July 8, 2022 letter that her

16   Complaint states no viable legal claim because of these defects and asked her to dismiss her claims

17   or, if she believed any amendment would cure the defects, to amend her complaint before Meta

18   and the Court expended resources on this motion. Barnet Decl. Ex. 1.1 Loomer declined to dismiss

19   the suit or add any new allegations that might address the numerous shortcomings Meta identified.

20   This is not surprising. Loomer has already filed four complaints in three prior lawsuits that

21   unsuccessfully challenged the same conduct. Her fifth effort fails because her claims are

22   fundamentally nonviable. Loomer has offered no indication that, given a sixth chance to try to

23   state a claim against Meta for removing her access to Facebook, she would be able to plausibly

24   allege conduct that violates the law. And no additional allegations could alter the defenses afforded

25   to Meta by Section 230. Accordingly, this Court should dismiss the Complaint with prejudice.

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      Two of Loomer’s three counsel, Bob Barr and Brannon Borroughs, moved to withdraw as counsel
28   the next business day. Notice and Motion to Withdraw Pro Hac Vice, ECF No. 39 (July 11, 2022).
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 1                                             BACKGROUND

 2             A.       Meta’s Facebook And Content-Moderation Policies

 3             The Complaint alleges that Facebook is a social media website used by over 3 billion

 4   people worldwide. Compl. ¶¶ 25, 254. Facebook users share content on the service and interact

 5   with content posted by other users. Id. Users can maintain Facebook profiles or create Pages; share

 6   status updates, photos, videos, and stories; and browse for content through their News Feed.

 7   Facebook, Terms of Service, https://www.facebook.com/legal/terms (Barnet Decl. Ex. 2).2 The

 8   content that users create is diverse and substantial. See, e.g., Compl. ¶¶ 67, 70, 146, 306.

 9             Meta has developed rules and standards to moderate the user-created content on its service.

10   See, e.g., Compl. ¶¶ 64-67, 99, 165. Though “Meta recognizes how important it is for Facebook to

11   be a place where people feel empowered to communicate,” Meta “take[s] [its] role seriously in

12   keeping abuse off the service.” Meta Transparency Center, Facebook Community Standards,

13   https://transparency.fb.com/policies/community-standards (Barnet Decl. Ex. 3).3 Meta has

14   therefore developed the Facebook Community Standards, which “outline what is and isn’t allowed

15   on Facebook.” Id. As relevant here, Meta does not “allow hate speech on Facebook,” because hate

16   speech “creates an environment of intimidation and exclusion, and in some cases may promote

17   offline violence.” Meta Transparency Center, Hate Speech, https://transparency.fb.com/policies/

18   community-standards/hate-speech (Barnet Decl. Ex. 4). “In an effort to prevent and disrupt real-

19   world harm,” Meta similarly “do[es] not allow organizations or individuals that proclaim a violent

20   2
      The Court may take judicial notice of the existence and content of Facebook’s Terms of Service.
21   See In re Zoom Video Commc’ns, Inc. Privacy Litig., 525 F. Supp. 3d 1017, 1026 n.2 (N.D. Cal.
     2021) (“Public terms of service and privacy policies are proper subjects of judicial notice.”);
22   Caraccioli v. Facebook, Inc., 167 F. Supp. 3d 1056, 1063 (N.D. Cal. 2016) (taking judicial notice
     of Facebook’s Terms of Service); see also Force v. Facebook, Inc., 934 F.3d 53, 59 n.5 (2d Cir.
23   2019) (Facebook’s Terms of Service and Community Standards were “subject to judicial notice”).
     3
24     The Complaint incorporates the Facebook Community Standards by reference, see, e.g., Compl.
     ¶¶ 99-114 (hate speech policy), 152-160 (dangerous individuals and organizations policy). They
25   therefore may be considered in deciding this motion to dismiss. Knievel v. ESPN, 393 F.3d 1068,
     1076 (9th Cir. 2005) (considering website under “‘incorporation by reference’ doctrine” where
26
     contents were “alleged in [the] complaint” but “not physically attached to the [plaintiff’s]
27   pleading”). They may alternatively be judicially noticed by the Court. See Threshold Enters. Ltd.
     v. Pressed Juicery, Inc., 445 F. Supp. 3d 139, 146 (N.D. Cal. 2020) (“In general, websites and their
28   contents may be judicially noticed.”); Force, 934 F.3d at 59 n.5.
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 1   mission or are engaged in violence to have a presence” on Facebook. Meta Transparency Center,

 2   Dangerous Individuals and Organizations, https://transparency.fb.com/policies/community-

 3   standards/dangerous-individuals-organizations (Barnet Decl. Ex. 5). Meta thus “remove[s] content

 4   that praises, substantively supports or represents ideologies that promote hate.” Id.

 5             Facebook users agree to abide by the Community Standards through the platform’s Terms

 6   of Service; consequences for violating the Community Standards “rang[e] from a warning to an

 7   outright ban depending on the severity of the violation and the person’s history on the platform.”

 8   Compl. ¶ 99. The Terms inform Facebook users that if Meta learns of “harmful conduct towards

 9   others,” it “may take appropriate action … includ[ing] … removing content, … [or] disabling an

10   account.” Terms of Service (Barnet Decl. Ex. 2). The Terms also explain that “[i]f we determine

11   … that you have clearly, seriously or repeatedly breached our Terms or Policies, including in

12   particular the Community Standards, … we may permanently disable or delete your account.” Id.

13             Meta vigorously enforces its content-moderation policies. It has removed tens of millions

14   of pieces of content for violation of its hate speech policy alone. Compl. ¶¶ 146-51.

15             B.       Removal Of Loomer’s Facebook Accounts For Violating Meta’s Policies

16             Loomer alleges Meta temporarily suspended her Facebook account, and then permanently

17   removed it, under its dangerous individuals and organizations policy. Compl. ¶¶ 153, 210-211.

18   According to Loomer, Meta permanently banned her from Facebook because she appeared with

19   Proud Boys leader Gavin McInnes and praised Faith Goldy, “both of whom were previously

20   designated ‘hate figures’” by Facebook. Id. ¶ 211. At the time Loomer’s account was banned, Meta

21   explained that it has “always banned individuals or organisations that promote or engage in

22   violence and hate, regardless of ideology.” Lee, Facebook bans ‘dangerous individuals,” BBC

23   News (May 3, 2019) (Barnet Decl. Ex. 6) (cited at Compl. ¶ 153 n.133).4 And “when [Meta] bans

24   4
       This news article and the others cited in this Section all are incorporated by reference in the
25   Complaint and therefore may be considered in deciding this motion to dismiss. Knievel, 393 F.3d
     at 1076-1077; see Lee, Facebook bans ‘dangerous individuals,” BBC News (May 3, 2019),
26   https://www.bbc.com/news/technology-48142098 (Barnet Decl. Ex. 6) (cited at Compl. ¶ 153
     n.133); Ortutay, Facebook bans ‘dangerous individuals’ cited for hate speech, Associated Press
27   (May 3, 2019), https://apnews.com/article/alex-jones-north-america-ap-top-news-sc-state-wire-
     ca-state-wire-7825d0df3fda4799a78da92b9e969cdc (Barnet Decl. Ex. 7) (cited at Compl. ¶ 211
28
     n.189); Bokhari, Politicians Won’t Be Allowed on Facebook If They’ve Previously Been Banned,
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 1   someone under this policy, the company also prohibits anyone else from praising or supporting

 2   them.” Ortutay, Facebook bans ‘dangerous individuals’ cited for hate speech, Associated Press

 3   (May 3, 2019) (Barnet Decl. Ex. 7) (cited at Compl. ¶ 211 n.189).

 4          Months after Meta permanently banned her from Facebook, Loomer announced she was

 5   running for Congress in Florida. Compl. ¶ 212. She then attempted to set up “Laura Loomer for

 6   Congress,” the “official campaign page for Candidate Loomer,” on Facebook. Id. ¶ 218. Meta

 7   removed this Page the next day. Id. ¶ 219-220. Meta allegedly also prohibited Loomer from

 8   purchasing campaign ads. Id. ¶¶ 234-235. These decisions were consistent with Facebook’s Terms,

 9   which state that “you cannot use Facebook if … [w]e’ve previously disabled your account for

10   violations of our Terms or Policies.” Terms of Service (Barnet Decl. Ex. 2). A spokesperson for

11   Facebook explained that “[p]eople who have been banned from our services aren’t able to set up

12   a new account even if they’re running for office.” Bokhari, Politicians Won’t Be Allowed on

13   Facebook If They’ve Previously Been Banned, Breitbart (Nov. 14, 2019) (Barnet Decl. Ex. 8) (cited

14   at Compl. ¶ 223 n.195).

15          C.       Moderation Of Hate Speech By Other Social Media Websites

16          Loomer alleges that other social media websites have also developed and enforced policies

17   against hate speech. See Compl. ¶ 79 (describing Google’s policy against “derogatory content that

18   promotes hatred”); id. ¶ 204 (describing Twitter’s hate speech policy); see also id. ¶ 161-198

19   (describing enforcement of policies). For example, the Complaint alleges that Twitter permanently

20   banned Loomer for “hateful” conduct on November 21, 2018. Compl. ¶ 210. Others were

21   “banned” from or “censored” on websites like Twitter and Google under policies concerning

22   violent rhetoric, e.g., id. ¶¶ 164, 185-186, or race-related content, e.g., id. ¶¶ 163, 188. Loomer

23   devotes exactly one sentence of her Complaint to explaining how these allegations are relevant to

24   her RICO claims against Meta. She alleges that “Facebook, Twitter, and other social media

25   companies, including but not limited to Instagram, Google Inc. and YouTube are members of an

26   enterprise which has used and continues to use the pretext of ‘hate speech’ as cover for committing

27

28   Breitbart (Nov. 14, 2019) (Barnet Decl. Ex. 8) (cited at Compl. ¶ 223 n.195).
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 1   and continuing to commit illegal predicate acts under the RICO statutes.” Id. ¶ 30.

 2             D.       Loomer’s Series of Meritless Lawsuits Based On The Same Events

 3             Loomer has responded to these events by bringing a string of baseless lawsuits against

 4   Meta, all arising out of the decision to suspend her Facebook account. She first alleged that

 5   Facebook and other online platforms violated the antitrust laws and the First Amendment when

 6   they suspended her social media accounts. Am. Compl. ¶¶ 69, 103-128, Freedom Watch, Inc. et

 7   al. v. Google, Inc. et al., No. 1:18-cv-02030-TNM (D.D.C. Dec. 6, 2018), ECF No. 27.5 That case

 8   was dismissed for failure to state a claim. Freedom Watch, Inc. v. Google, Inc., 368 F. Supp. 3d

 9   30, 34 (D.D.C. Mar. 14, 2019), aff’d, 816 F. App’x 497, 500-501 (D.C. Cir. 2020).

10             Just four months after the D.C. district court dismissed that case, Loomer restyled her

11   lawsuit as a defamation claim. She filed suit in the Southern District of Florida, alleging that

12   Facebook defamed her when it temporarily suspended her account and then permanently banned

13   her from the platform under its dangerous individuals and organizations policy. Compl. ¶¶ 5, 23-

14   43, Loomer v. Facebook, Inc., No. 9:19-cv-80893-RS (S.D. Fla. July 8, 2019), ECF No. 1. She

15   took the opportunity to amend her allegations a month later. Am. Compl., Loomer v. Facebook,

16   Inc., No. 9:19-cv-80893-RS (S.D. Fla. Aug. 5, 2019), ECF No. 7. And just hours after that court

17   denied Loomer’s motion for an extension of discovery, Loomer filed a nearly identical complaint

18   against Facebook in Florida state court. See Loomer v. Facebook, Inc., No. 50-2020-CA-002352-

19   XXXX-MB (Fla. 15th Cir. Ct. 2020). Facebook removed the state court case to federal court, see

20   Notice of Removal, Loomer v. Facebook, Inc., No. 9:20-cv-80484-DMM (S.D. Fla. Mar. 24,

21   2020), ECF No. 1, and Loomer voluntarily dismissed the case shortly thereafter, Notice of

22   Voluntary Dismissal, Loomer, No. 9:20-cv-80484-DMM (S.D. Fla. Apr. 22, 2020), ECF No. 20.

23   The Southern District of Florida transferred the first-filed Florida case to this District. Order

24   Granting Motion to Transfer, Loomer, No. 9:19-cv-80893-RS (S.D. Fla. Apr. 13, 2020), ECF No.

25   56. Loomer then voluntarily dismissed that action with prejudice—after Meta had fully briefed a

26   motion to dismiss and filed a motion for summary judgment—asserting that she did not believe

27
     5
       The Court may take judicial notice of these previous court filings, which are “matters of public
28   record.” Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006).
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 1   that she “would be accorded due process and an unbiased adjudication by the Court.” Notice of

 2   Voluntary Dismissal, Loomer, No. 4:20-cv-03154-HSG (N.D. Cal. Aug. 13, 2020), ECF No. 88;

 3   Joint Initial Case Management Statement at 3 (N.D. Cal. June 30, 2020), ECF No. 80. Yet Loomer

 4   now returns to the Northern District of California, almost two years later, with another farfetched

 5   theory of why the decision to remove her Facebook account should be deemed unlawful.

 6                                              ARGUMENT

 7   I.        LOOMER’S CLAIMS ARE BARRED BY RES JUDICATA

 8             Loomer’s attempt to repackage claims against Meta that she already raised and voluntarily

 9   dismissed with prejudice is prohibited by res judicata. See Compl., Loomer v. Facebook, Inc., No.

10   9:19-cv-80893-RS (S.D. Fla. July 8, 2019), ECF No. 1; Notice of Voluntary Dismissal, Loomer,

11   No. 4:20-cv-03154-HSG (N.D. Cal. Aug. 13, 2020), ECF No. 88. Loomer’s “stipulated dismissal

12   of [her] action with prejudice … constitutes a final judgment on the merits and precludes [her]

13   from reasserting the same claims in a subsequent action in the same court.” Headwaters Inc. v.

14   U.S. Forest Serv., 399 F.3d 1047, 1052 (9th Cir. 2005). And Loomer undoubtedly pursues the

15   “same claims” here as she did in her defamation action because “the two suits arise out of the same

16   transactional nucleus of facts”: Meta’s removal of her Facebook account. Id. (citing Costantini v.

17   Trans World Airlines, 681 F.2d 1199, 1201–02 (9th Cir. 1982)).

18             It makes no difference that she now labels her challenge as RICO claims; she cannot

19   relitigate the same claims even if she “has pleaded a new legal theory.” Costantini, 681 F.2d at

20   1201. Nor does it matter that she now challenges Meta’s alleged removal of her campaign page on

21   November 12, 2019 or its alleged prohibition on her purchase of campaign ads on July 4, 2020.

22   Compl. ¶¶ 219, 235. That alleged conduct occurred before Loomer voluntarily dismissed her prior

23   suit and that dismissal “bars all grounds for recovery which could have been asserted, whether

24   they were or not, in [the] prior suit.” Costantini, 681 F.2d at 1201.6 Loomer’s efforts to pad her

25   RICO claims by asserting implausible Anti-Terrorism Act (ATA) and Smith Act predicates also

26   do not change this fact, as she cannot “avoid the bar of res judicata merely because [she] now

27

28   6
         Emphasis added and citations and internal quotations omitted throughout, unless otherwise noted.
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 1   alleges conduct by [Meta] not alleged in [her] prior suit.” Id. And any attempt to distinguish the

 2   facts underlying her RICO claims from those alleged in her defamation suit only undermines her

 3   suit further, for “to state a federal RICO claim, [she] must allege that all of the predicate acts, taken

 4   together, constitute a single course of conduct aimed at benefitting the wrongdoer by harming

 5   [her].” Monterey Plaza Hotel Ltd. v. Local 483, 215 F.3d 923, 927-928 (9th Cir. 2000) (RICO

 6   claim precluded by prior state action under state law) (emphasis in original). Finally, Loomer

 7   cannot avoid the res judicata bar by naming Mr. Zuckerberg as a defendant or listing her campaign

 8   committee as a plaintiff, as both stand in privity to the parties to her previous defamation suit.

 9   Pedrina v. Chun, 97 F.3d 1296, 1302 (9th Cir. 1996) (corporate officers in privity with

10   corporation); Taylor v. Sturgell, 553 U.S. 880, 895 (2008) (nonparties bound if “adequately

11   represented” in prior suit and parties to prior judgment cannot “relitigate[e] through a proxy”).

12   II.     LOOMER HAS NOT STATED A CIVIL RICO CLAIM

13           The Court should reject Loomer’s latest attempt to recast her grievance about Meta’s

14   removal of her account as a RICO claim. RICO “‘was enacted with a goal of eradicat[ing]

15   organized, long-term criminal activity.’” Royce Int’l Broad. Corp. v. Field, 2000 WL 236434, at

16   *4 (N.D. Cal. Feb. 23, 2000) (quoting Midwest Grinding Co. v. Spitz, 976 F.2d 1016, 1019 (7th

17   Cir. 1999)). It does not provide a cause of action to pursue the kind of garden-variety tort or

18   contract claims that Loomer has previously brought in response to these same events. Nguyen v.

19   Chow, 2014 WL 12625960, at *2 (N.D. Cal. Sept. 19, 2014); Annulli v. Panikkar, 200 F.3d 189,

20   200 (3d Cir. 1999), abrogated on other grounds, Rotella v. Wood, 528 U.S. 549 (2000).

21           Imposing RICO liability would be especially inappropriate here because Loomer

22   challenges conduct protected by Meta’s First Amendment right to “exercise … editorial control

23   and judgment” over what content it disseminates through its communications platform. See Miami

24   Herald Publ’g Co. v. Tornillo, 418 U.S. 241, 257-58 (1974). This First Amendment protection

25   extends to “decisions about what content to include, exclude, moderate, filter, label, restrict, or

26   promote” on platforms such as Facebook. O’Handley v. Padilla, 2022 WL 93625, at *14 (N.D.

27   Cal. Jan. 10, 2022); see also NetChoice, LLC v. Att’y Gen., 34 F.4th 1196, 1210 (11th Cir. 2022)

28   (holding that a platform “engages in ‘speech’ within the meaning of the First Amendment” when
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 1   it selectively removes user content). Loomer attempts to hold Meta liable for its exercise of

 2   editorial control and judgment, including its decisions to remove her content and block her from

 3   accessing Facebook. See, e.g., Compl. ¶¶ 30, 210-11, 218-19, 235, 243-44. But courts must be

 4   wary of extending civil RICO’s “somewhat elastic” predicate acts to encompass such “fully

 5   protected First Amendment activity.” Nat’l Org. for Women v. Scheidler, 510 U.S. 249, 264 (1994)

 6   (Souter, J., concurring). And Meta is “entitl[ed] … to dismissal on that basis.” Id.; see also Savage

 7   v. Council on American-Islamic Relations, Inc., 2008 WL 2951281, at *10 (N.D. Cal. July 25,

 8   2008) (dismissing RICO claim that raised “serious First Amendment concerns”).

 9             But even setting aside Meta’s First Amendment rights, Loomer’s RICO claim fails because

10   her allegations do not support an entitlement to relief. To state a civil RICO claim, Loomer must

11   plausibly allege “(1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity

12   (known as ‘predicate acts’) (5) causing injury to plaintiff’s business or property.” Living Designs,

13   Inc. v. E.I. Dupont de Nemours & Co., 431 F.3d 353, 361 (9th Cir. 2005). Loomer alleges that

14   Meta and Mr. Zuckerberg, along with other social media websites, participated in an enterprise

15   that committed a series of predicate acts under RICO by violating the federal wire fraud statute,

16   the Hobbs Act, the Travel Act, the ATA, and the Smith Act. Compl. ¶¶ 332, 341-62. But her

17   allegations satisfy none of RICO’s requirements. The Complaint does not plausibly allege an

18   enterprise, a pattern, or injury to business or property. Nor does it plausibly allege any predicate

19   act. It should be dismissed.7

20             A.       Loomer Has Not Pleaded A RICO Enterprise

21             Loomer’s RICO claim fails at the outset because she has not plausibly alleged an

22   7
       Loomer’s claims for punitive damages independently should be dismissed because punitive
23   damages are precluded under civil RICO. See Sw. Marine, Inc. v. Triple A Mach. Shop, Inc., 720
     F. Supp. 805, 810 (N.D. Cal. 1989) (RICO “provides for treble damages which are themselves
24   punitive in character.”); Neibel v. Trans World Assur. Co., 108 F.3d 1123, 1130 (9th Cir. 1997)
     (crediting Southwest Marine’s holding that “punitive damages were unavailable directly through
25   RICO”), overruled on other grounds, United States v. Fernandez, 388 F.3d 1199, 1228 (9th Cir.
     2004). A motion to dismiss under 12(b)(6) is the appropriate vehicle to dismiss damages claims
26
     that “are precluded as a matter of law.” Whittlestone, Inc. v. Handi-Craft Co., 618 F.3d 970, 974
27   (9th Cir. 2010); see, e.g., Linares v. CitiMortgage, Inc., 2015 WL 2088705, at *8 (N.D. Cal. May
     5, 2015) (construing motion to strike as motion to dismiss and dismissing punitive damages claim
28   where such damages were “not available”).
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 1   association-in-fact RICO enterprise. “[A]n association-in-fact enterprise is ‘a group of persons

 2   associated together for a common purpose of engaging in a course of conduct.’” Boyle v. United

 3   States, 556 U.S. 938, 946 (2009) (quoting United States v. Turkette, 452 U.S. 576, 583 (1981)).

 4   Such an enterprise “must have a structure.” Id. at 945. A RICO plaintiff must plausibly allege that

 5   enterprise members shared a “common purpose,” formed “‘a vehicle for the commission of two or

 6   more predicate crimes,’” and that their “behavior was ‘ongoing’ rather than isolated activity.”

 7   Odom v. Microsoft Corp., 486 F.3d 541, 552-53 (9th Cir. 2007) (en banc). A RICO enterprise is

 8   not proved by evidence that “several individuals, independently and without coordination, engaged

 9   in a pattern of crimes listed as RICO predicates.” Boyle, 556 U.S. at 947 n.4.

10          The Complaint is bereft of plausible allegations as to “what exactly each individual did,

11   when they did it, or how they functioned together as a continuing unit.” Doan v. Singh, 617 F.

12   App’x 684, 686 (9th Cir. 2015) (holding plaintiff failed to plead RICO enterprise). Instead, it

13   conclusorily asserts that Defendants, as well as nonparties such as YouTube and Google, formed

14   an “associated in fact” enterprise, Compl. ¶ 332, that “has used and continues to fraudulently use

15   the pretext of ‘hate speech’ as cover for committing and continuing to commit illegal predicate

16   acts under the RICO statutes” against Loomer and others “in order to further multiple fraudulent

17   schemes,” id. ¶ 30. That does not suffice. “[A]n ‘entitlement to relief’ requires ‘more than labels

18   and conclusions.’” Eclectic Props. E., LLC v. Marcus & Millichap Co., 751 F.3d 990, 995 (9th

19   Cir. 2014) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 554, 555 (2007)).

20          To the extent that the Complaint includes any specific allegations concerning the alleged

21   enterprise, they amount, at most, to “lawful parallel conduct,” which cannot establish a RICO

22   enterprise. Vertkin v. Wells Fargo Home Mortg., 2011 WL 175518, at *4 (N.D. Cal. Jan. 18, 2011)

23   (citing Twombly, 550 U.S. at 557). Loomer alleges that Meta and Twitter have enacted policies

24   related to “hate speech” or “hateful conduct,” Compl. ¶¶ 99-107, 108-09, and have taken action to

25   enforce those policies. To be sure, both companies are alleged to have “banned” and “censored”

26   accounts, id. ¶¶ 161-98; permanently banned Loomer’s accounts, id. ¶¶ 210, 211; and banned or

27   frozen Donald Trump’s accounts, id. ¶¶ 308, 309. But Loomer has not plausibly alleged that Meta

28   and Twitter “associated together for a common purpose” by “coordinat[ing] their activities,”
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 1   United States v. Christensen, 828 F.3d 763, 780-781 (9th Cir. 2015), or working as “a cohesive

 2   unit,” Vertkin, 2011 WL 175518, at *4.8 Nor does Loomer explain how the alleged members of

 3   the enterprise “had relationships among each other with respect to the actual carrying out of what

 4   they were each doing individually.” Almanza v. United Airlines, Inc., 851 F.3d 1060, 1073 (11th

 5   Cir. 2017). Her allegations therefore cannot support a RICO enterprise.

 6             Nor can Loomer overcome her failure to show anything more than parallel conduct by

 7   claiming that Mr. Zuckerberg participated in the alleged enterprise. To plead an enterprise

 8   consisting of Meta and its CEO, Loomer must plausibly allege “the existence of a distinct

 9   Enterprise, separate and apart from the general business of [Meta].” In re JUUL Labs, Inc., Mktg.,

10   Sales Practices, & Prods. Liability Litig., 497 F. Supp. 3d 552, 603 (N.D. Cal. 2020). And to hold

11   an individual such as Mr. Zuckerberg liable under RICO, she must show that this distinct enterprise

12   was under his “direction or control.” Id. at 607 (analyzing role of CEO in alleged enterprise); see

13   also Reves v. Ernst & Young, 507 U.S. 170, 179 (1993) (liability for conduct of enterprise requires

14   “some part in directing” the enterprise’s affairs). But Loomer has not plausibly alleged that Mr.

15   Zuckerberg was personally involved in operating or managing any enterprise distinct from Meta’s

16   general business, let alone that he participated in removing her account or other content-related

17   decisions underlying her RICO allegations. She points only to Mr. Zuckerberg’s general public

18   statements about Facebook’s policies and his views as the company’s CEO about how Meta should

19   exercise editorial judgment and control. See, e.g., Compl. ¶¶ 49, 56, 77, 82, 85, 119, 203, 216, 282,

20   291-293. She does not, and cannot, show that Mr. Zuckerberg “conducted or participated in the

21   conduct of a racketeering enterprise, rather than just the business of [Meta] separate and apart from

22   any alleged racketeering acts.” Ferrari v. Mercedes-Benz USA, LLC, 2016 WL 7188030, at *3

23   (N.D. Cal. Dec. 12, 2016) (analyzing roles of current and former CEOs in alleged enterprise).

24

25   8
       Nor do Loomer’s citations to a handful of ongoing lawsuits naming members of the supposed
     enterprise help establish a common purpose to engage in the predicate acts that she alleges, as
26
     these other lawsuits are unrelated to the claims she brings in this action. See, e.g., Compl. ¶ 33
27   (allegations that Mr. Zuckerberg and Google’s CEO “secretly conspired … to guarantee Defendant
     Facebook would both bid in and win a fixed percentage of ad auctions.”); id. ¶ 37 (allegations that
28   Meta “was reported to have engaged in [a] fraudulent scheme” relating to privacy).
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 1          B.       Loomer Has Not Pleaded A “Pattern” Of Racketeering Activity

 2          Loomer has also failed to plead the essential element of a “pattern” of racketeering activity.

 3   See Sever v. Alaska Pulp Corp., 978 F.2d 1529, 1536 (9th Cir. 1992). To establish the requisite

 4   “pattern,” a plaintiff must allege that “the racketeering predicates are related and ‘that they amount

 5   to or pose a threat of continued criminal activity.’” Turner v. Cook, 362 F.3d 1219, 1229 (9th Cir.

 6   2004). Loomer’s Complaint comes up short on both components.

 7          Where “[t]he purpose, result, victim and method” are “strikingly different” for each of the

 8   predicate acts, the relatedness requirement is not met. Howard v. Am. Online Inc., 208 F.3d 741,

 9   749 (9th Cir. 2000). That is precisely the case here. For example, Loomer appears to allege that

10   Meta defrauded her and unnamed others by allegedly applying its Community Standards

11   inconsistently and by limiting particular politicians’ access to Facebook after allegedly stating that

12   politicians would be able to access and post content to Facebook without regard to the restrictions

13   of the Community Standards. See Compl. ¶ 217, 280. This alleged conduct, which Loomer cites

14   in support of her wire fraud claim, shares no overlapping purpose, result, victim, or method with

15   her allegations that Meta attempted to provide material support to terrorist groups, id. ¶ 354, or to

16   advocate for the overthrow of the government, id. ¶ 356-358, by allowing certain accounts to

17   remain on Facebook. Loomer does not, in fact, assert that she was injured by the alleged ATA and

18   Smith Act violations at all. She was not. Those purported predicate acts are premised on decisions

19   to remove (or not remove) content that was posted by other third parties and are not alleged to

20   have had any impact on Loomer. See id. ¶¶ 288-300 (ATA); id. ¶¶ 301-12 (Smith Act).

21          Loomer likewise fails to plausibly allege a “threat of continued criminal activity,” as

22   required to plead a RICO pattern. H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239 (1989). She

23   claims to have shown “Open Ended Continuity,” asserting that, as a group, “Defendants continue

24   to engage in the predicates listed herein,” which are “supported by Defendants’ policies and

25   procedures for its ongoing, legitimate businesses.” Compl. ¶ 336-338. These conclusory

26   allegations do not suffice. Loomer must plausibly allege “past conduct that by its nature projects

27   into the future with a threat of repetition.” H.J. Inc., 492 U.S. at 241. She does not do so. Loomer

28   bases her allegation that Meta extorted her on a single action that the company took in May 2019.
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 1   Compl. ¶¶ 211, 346-347. Her wire fraud allegations hinge on statements allegedly made in October

 2   2019, id. ¶¶ 216-217, 281-282, that are purportedly inconsistent with Meta’s conduct in November

 3   2019, id. ¶ 218-223. And as discussed above, her ATA and Smith Act allegations do not describe

 4   “related predicates” at all. See H.J. Inc., 492 U.S. at 242. Like the allegations found insufficient to

 5   establish open-ended continuity in Howard, Loomer’s Complaint “present[s] no facts indicating

 6   that [these alleged predicate acts] would continue into the future.” See 208 F.3d at 750. She

 7   describes, at most, the kind of “isolated or sporadic acts” that do not suffice to establish a RICO

 8   pattern. Sun Sav. & Loan Ass’n v. Dierdorff, 825 F.2d 187, 193 (9th Cir. 1987).

 9          C.       Loomer Has Not Pleaded A Cognizable Injury Proximately Caused By The

10                   Alleged Predicate Acts

11          Loomer does not plead a cognizable RICO injury because she does not plausibly allege

12   that she “‘has been injured in [her] business or property’” as a result of Facebook’s ban. Canyon

13   County v. Syngenta Seeds, Inc., 519 F.3d 969, 975 (9th Cir. 2008). A RICO injury “requires proof

14   of concrete financial loss, and not mere ‘injury to a valuable intangible property interest.’” Oscar

15   v. Univ. Students Coop. Ass’n, 965 F.2d 783, 785 (9th Cir. 1992), abrogated on other grounds by

16   Diaz v. Gates, 420 F.3d 897, 899 (9th Cir. 2005) (en banc). As this Court has recognized, intangible

17   injuries, such as “‘[c]ivil rights violations and injury to reputation,’” “‘do not fall within the

18   statutory definition of racketeering activity’ and thus ‘fail[] to state a claim under RICO.’” Feng

19   v. County of Santa Clara, 2019 WL 7194475, at *8 (N.D. Cal. Dec. 26, 2019) (quoting Bowen v.

20   Oistead, 125 F.3d 800, 806 (9th Cir. 1997)).

21          Most of Loomer’s asserted injuries, including “reputational damage,” Compl. ¶ 243,

22   “deprivation of equal access to voters,” id. ¶ 244, “the loss of votes in a federal election,” id., and

23   “the loss of … intangible rights, equal opportunity, [and] campaign exposure,” id. ¶ 362, do not

24   survive this basic requirement to plead a “tangible financial loss” and therefore are not cognizable

25   under RICO, Diaz, 420 F.3d at 900. Her alleged voting-related injuries do not even arguably

26   involve business or property interests; nor is the alleged damage to her reputation or goodwill

27   redressable under RICO. C&M Café v. Kinetic Farm, Inc., 2016 WL 6822071, at *8 (N.D. Cal.

28   Nov. 18, 2016) (reputational harm not cognizable RICO injury); In re Volkswagen “Clean Diesel”
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 1   Mktg., Sales Practices, & Prods. Liability Litig., 2019 WL 6749534, at *4 (N.D. Cal. Dec. 6, 2019)

 2   (“[H]arm to goodwill is not recoverable under RICO.”).

 3             As for Loomer’s remaining alleged injuries—“lost employment opportunities,” Compl.

 4   ¶ 243, “lost future profits,” id., and “deprivation of … campaign donations,” id. ¶ 244—the

 5   Complaint fails plausibly to allege that any predicate act proximately caused these injuries, as

 6   RICO requires. See Syngenta, 519 F.3d at 972.9 A RICO plaintiff must identify “‘some direct

 7   relation between the injury asserted and the injurious conduct alleged.’” Id. at 981 (quoting Holmes

 8   v. Sec. Inv. Prot. Corp., 503 U.S. 258, 268 (1992)). This requirement “is not easily met,” Sheperd

 9   v. Am. Honda Motor Co., 822 F. Supp. 625, 629 (N.D. Cal. 1993), and Loomer fails to meet it

10   here. Like the injuries that were held insufficient to state a RICO claim in Oscar, Loomer’s alleged

11   losses are “purely speculative.” Diaz, 420 F.3d at 898 (quoting Oscar, 965 F.2d at 787). She “never

12   alleged that she wanted or tried to” pursue opportunities for employment or future profit, or that

13   Defendants stood in her way. Id. Because these allegations “require[] the Court to move beyond

14   the first step in the causal chain” in order to trace Loomer’s injuries to Meta, they are too indirect

15   to establish a RICO injury. Fields v. Twitter, Inc., 881 F.3d 739, 745 (9th Cir. 2018) (citing Hemi

16   Grp., LLC v. City of New York, 559 U.S. 1, 8-12 (2010)).

17             Nor does Loomer plead the requisite “direct causal connection” between the challenged

18   conduct—Meta’s decision to ban her from Facebook—and the loss of campaign donations she

19   claims. Anza v. Ideal Steel Supply Co., 547 U.S. 451, 460 (2006). Indeed, some of her allegations

20   suggest the opposite causal connection. Loomer won the Republican primary after she was banned

21   from Facebook, see Compl. ¶ 239, and when she announced her 2022 congressional run, she touted

22   her de-platforming and “‘Big Tech’[’s] efforts to silence everyday Americans.” Manjarres, Laura

23   9
       It is also doubtful whether any of these injuries could qualify as injuries to Loomer’s business or
24   property interests. The Supreme Court has noted that, “perhaps because of its very uncertainty, the
     interest in anticipated gains has traditionally been viewed as less compelling than other property-
25   related interests.” Andrus v. Allard, 444 U.S. 51, 66 (1979). And in upholding dismissal of a RICO
     claim involving the sale of trading cards, the Ninth Circuit approvingly quoted the Fifth Circuit’s
26
     observation that “‘[i]njury to mere expectancy interests … is not sufficient to confer RICO
27   standing.’” Chaset v. Fleer/Skybox Int’l LP, 300 F.3d 1083, 1087 (9th Cir. 2002) (quoting Price v.
     Pinnacle Brands, 138 F.3d 602, 607 (5th Cir. 1998) (per curiam)). But the Court need not resolve
28   that issue, given Loomer’s failure to plausibly allege proximate cause as to these supposed injuries.
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 1   Loomer      Announces     2022    Congressional      Run,    The    Floridian    (Feb.   24,    2021),

 2   https://floridianpress.com/2021/02/laura-loomer-announces-2022-congressional-run               (Barnet

 3   Decl. Ex. 9) (cited at Compl. ¶ 242 n.209). Her assertion that she lost out on campaign

 4   contributions thus invites this Court to engage in exactly the type of “intricate, uncertain inquir[y]”

 5   that RICO’s proximate cause element is designed to prevent. Anza, 547 U.S. at 459-460 (holding

 6   that alleged RICO injury lacked proximate cause because it “could have resulted from factors other

 7   than petitioners’ alleged acts of fraud”); see Westchester Cnty. Indep. Party v. Astorino, 137 F.

 8   Supp. 3d 586, 615 (S.D.N.Y. 2015) (allegation of lost campaign donations was “indefinite and

 9   unprovable” and thus insufficient to establish RICO injury). This Court should decline to do so.

10          D.       Loomer Has Not Pleaded Any Predicate Act

11          Beyond all these defects, Loomer fails to satisfy the most basic requirement under RICO:

12   she has not plausibly alleged any “racketeering activity (known as predicate acts).” Eller v.

13   EquiTrust Life Ins. Co., 778 F.3d 1089, 1092 (9th Cir. 2015).

14                   1.      Loomer Has Not Plausibly Alleged Wire Fraud

15          Wire fraud allegations must be pleaded with particularity. Swartz v. KPMG LLP, 476 F.3d

16   756, 764 (9th Cir. 2007) (citing Fed R. Civ. P. 9(b)). To do so, Loomer must set forth specific facts

17   establishing “(1) a scheme to defraud, (2) the use of the mails or wires to further that scheme, and

18   (3) the specific intent to defraud.” JUUL Labs, 497 F. Supp. 3d at 595. Not every alleged

19   misrepresentation amounts to criminal fraud. The statute prohibits “only deceptive ‘schemes to

20   deprive [the victim of] money or property,’” Kelly v. United States, 140 S. Ct. 1565, 1571 (2020),

21   and requires the intent to “obtain money or property from the one who is deceived,” United States

22   v. Lew, 875 F.2d 219, 221 (9th Cir. 1989). Loomer’s allegations do not meet these standards.

23          First, Loomer does not adequately allege any deceptive conduct. Her wire fraud claim does

24   not meet the basic requirement under Rule 9(b) to plead fraud with particularity. Her theory

25   appears to be that Meta “devise[d] an artifice of community policies” to somehow defraud her and

26   others. Compl. ¶ 344. But nowhere does she “state the time, place, and specific content of the false

27   representations” Meta allegedly made to her concerning its Community Standards. Swartz, 476

28   F.3d at 764. Nor does she “set forth an explanation as to why the statement or omission complained
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 1   of was false or misleading.” In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir. 1994) (en

 2   banc). That alone is a sufficient basis for holding that she failed to plead this alleged predicate act.

 3   E.g., Titan Glob. LLC v. Organo Gold Int’l, Inc., 2012 WL 6019285, at *7 (N.D. Cal. Dec. 2,

 4   2012).10

 5             Beyond that threshold defect, there are others. While Loomer appears to also allege that

 6   Meta fraudulently “promised [her] access to its network” as a politician, Compl. ¶ 217, she has not

 7   plausibly alleged any “affirmative, material misrepresentation” to that effect, JUUL Labs., 497 F.

 8   Supp. 3d at 595 (quoting United States v. Green, 592 F.3d 1057, 1064 (9th Cir. 2010)). As reported

 9   in articles the Complaint incorporates by reference, Meta exempted “direct statement[s] from a

10   candidate or campaign … from policies designed to prevent misinformation”—not its Community

11   Standards more broadly (or, in particular, the dangerous individuals and organizations policy that

12   was the basis for Meta’s decision to ban Loomer from the platform). Hern, Facebook Exempts

13   Political    Ads    From    Ban    On   Making        False   Claims,   Guardian    (Oct.   4,   2019),

14   https://www.theguardian.com/technology/2019/oct/04/facebook-exempts-political-ads-ban-

15   making-false-claims (Barnet Decl. Ex. 10) (cited at Compl. ¶ 281 n.238); see Boyle, Facebook’s

16   Updated Advertising Policy Could Enable Politicians To Spread Misinformation, Newsweek (Oct.

17   3, 2019), https://www.newsweek.com/trump-biden-facebook-misleading-ads-1463054 (Barnet

18   Decl. Ex. 11) (cited at Compl. ¶ 281 n.238). Nor does Loomer explain how Mr. Zuckerberg’s

19   alleged statement that he “would not censor social media posts from politicians,” Compl. ¶ 282,

20   represented a promise that users would retain unconditional access to Facebook no matter what

21   content they posted, let alone a promise that Meta would allow individuals like Loomer to return

22   to the platform if they were previously banned for violating the Community Standards.11

23   10
        The Complaint appears to suggest, though without the particularity required by Rule 9(b), that
24   the Community Standards are fraudulent because Meta allegedly applies them inconsistently. That
     theory also fails because Loomer does not allege any statement by Meta that it perfectly enforces
25   its Community Standards or that there can be no reasonable disagreement as to whether particular
     content violates those Standards. Thus, allegations that Meta did not remove content that violated
26
     its Community Standards (in Loomer’s view) or removed content that did not violate its
27   Community Standards (again, in Loomer’s view), see, e.g., Compl. ¶¶ 157-159, do not plausibly
     allege that Meta’s Community Guidelines Standards are an “artifice,” id. ¶ 344.
28   11
          What Mr. Zuckerberg actually said, according to the article on which this allegation relies and
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 1          The remaining alleged statements on this topic are statements of opinion that are not

 2   falsifiable. According to the Complaint, Mr. Zuckerberg stated that he did not believe it was “right

 3   for tech companies to censor politicians in a democracy,” Compl. ¶ 216, and a Facebook

 4   spokesperson said the company “did not think it would be appropriate to prevent a politician’s

 5   speech from reaching its audience,” id. ¶ 281. These statements are “expressions of opinion,” and

 6   thus “not actionable as fraud.” Eclectic Props., 751 F.3d at 1000. Because Loomer does not

 7   identify any statements that were false or misleading, she cannot plausibly allege that she or other

 8   users could be deceived by any of them. Her attempt to disguise her challenge to the ban on her

 9   account as wire fraud fails.

10          Second, Loomer’s reliance on wire fraud fails for the independent reason that she does not

11   plausibly allege that Meta devised a scheme with the goal of obtaining money or property by means

12   of a false or misleading statement. The scheme she alleges is nonsensical. According to Loomer,

13   Meta carried out a bait-and-switch. It allegedly lured political candidates onto its platform “under

14   the false pretense and false promises that advertisements from political candidates would not be

15   subject to third-party review or censorship,” only to later change its policy. Compl. ¶¶ 279, 280.

16   That change in policy, in turn, allegedly permitted Meta to freeze then-President Trump’s

17   Facebook account and remove Loomer’s campaign page a day after she attempted to set it up—

18   thereby preventing those accounts from purchasing any advertising on Facebook. Id. ¶¶ 308, 218-

19   219. Loomer’s own case perfectly demonstrates why this alleged scheme is not plausibly related

20   to any effort to “deprive [her] of money or property by means of deception.” United States v.

21   Miller, 953 F.3d 1095, 1103 (9th Cir. 2020), cert. denied, 141 S. Ct. 1085 (2021). The wire fraud

22   statute is meant “to punish wrongful transfers of property from the victim to the wrongdoer, not to

23
     which is incorporated by reference, is: “My belief is that in a democracy, I don’t think that we
24   want private companies censoring politicians in the news.” “I generally believe that as a principle,
     people should decide what is credible and what they want to believe, who they want to vote for.
25   And I don’t think that should be something that we want tech companies or any kind of company
     doing.” Martin, Zuckerberg Tells Fox News Facebook Won’t Censor Politicians, While Warren
26
     Says Facebook Could Help Trump Win Again, Newsweek (Oct. 17, 2019),
27   https://www.newsweek.com/zuckerberg-tells-fox-news-facebook-wont-censor-politicians-while-
     warren-says-facebook-could-help-1466117 (Barnet Decl. Ex. 12) (cited at Compl. ¶ 282 n.239).
28   These are statements of opinion and not actionable in fraud. See Eclectic Props., 751 F.3d at 1000.
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 1   salve wounded feelings.” Monterey Plaza Hotel L.P., 215 F.3d at 927. It thus prohibits only

 2   conduct with an “acquisitive” purpose. Id. Had Meta been acting with an “acquisitive” purpose,

 3   id.—rather than the purpose of keeping abuse off the platform—it would not have removed

 4   Loomer’s campaign page before she even was able to purchase any advertisements on Facebook.

 5   Because Loomer has not plausibly alleged that Meta acted with an “intent to deceive and cheat”

 6   by obtaining property, dismissal is appropriate. R.J. v. Cigna Behavioral Health, Inc., 2021 WL

 7   1110261, at *10 (N.D. Cal. Mar. 23, 2021) (dismissing wire fraud claim on this ground); see also

 8   Focus 15, LLC v. NICO Corp., 2022 WL 2355537, at *5 (N.D. Cal. June 30, 2022) (similar).

 9                   2.     Loomer Has Not Pleaded Extortion Under The Hobbs Or Travel Acts

10          Loomer does not plausibly allege any conduct that amounts to extortion under the Hobbs

11   Act, 18 U.S.C. § 1951(a), or under Florida or California law, which are incorporated by the federal

12   Travel Act, see id. U.S.C. § 1952(b)(i)(2). She fails to establish multiple required elements of

13   extortion, foreclosing her claims under both the Hobbs Act and the Travel Act.

14          First, Loomer does not plausibly allege that Meta acted wrongfully or without justification,

15   an essential element under both predicates. See Levitt v. Yelp! Inc., 765 F.3d 1123, 1132 (9th Cir.

16   2014) (extortion under Hobbs Act and California law require “wrongful” use of force or violence);

17   Sanchez-Torres v. State, 322 So. 3d 15, 22-23 (Fla. 2020) (under Florida law, extortion requires

18   act “without any lawful justification”). She alleges generally that Meta acted wrongfully by

19   threatening to injure the “property and reputation” of her and others similarly situated and “expose

20   [them] to the disgrace of being banned, labeled a ‘dangerous individual,’ and placed on a

21   dangerous individual’s [sic] list.” Compl. ¶¶ 347, 352. But to avoid “transform[ing] a wide variety

22   of legally acceptable business dealings into extortion,” a plaintiff alleging extortion must point to

23   “a pre-existing right to be free from the threatened harm.” See Levitt, 765 F.3d at 1132-33; see also

24   Rothman v. Vedder Park Mgmt., 912 F.2d 315, 317-318 (9th Cir. 1990) (tenants had no right to be

25   free from landlord’s threats of future rent increases). Loomer fails to do so. She alleges no

26   preexisting legal right to access Facebook while violating its policies or to use Facebook without

27   being deemed a dangerous individual under its Community Standards. To the contrary, Facebook

28   specifically requires users to comply with its Community Standards in its Terms of Service and
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 1   notifies users that their account may be removed if they do not. See supra p. 4. Loomer alleges, at

 2   most, that Meta “is withholding a benefit that [Meta] makes possible and maintains,” which Meta

 3   “has no obligation to do.” Levitt, 765 F.3d at 1133. Loomer therefore cannot plausibly allege that

 4   Meta acted “wrongful[ly] or “without any lawful justification” when it removed her accounts.

 5            Second, Loomer does not plausibly allege that Defendants obtained any property from her,

 6   and so cannot plead a violation of the Hobbs Act or California’s extortion law. See United States

 7   v. Kozoil, 993 F.3d 1160, 1168 (9th Cir. 2021) (Hobbs Act); Cobb v. JPMorgan Chase Bank, N.A.,

 8   2013 WL 6201414, at *13 (N.D. Cal. Nov. 27, 2013) (California law). Extortion under these

 9   statutes “require[s] not only the deprivation but also the acquisition of property.” Scheidler v. Nat’l

10   Org. of Women, Inc., 537 U.S. 393, 404 (2003). Loomer must plead that Meta received “something

11   of value” that it “could exercise, transfer, or sell.” Id. at 405. She has not.

12            Loomer’s Complaint does not describe any property—tangible or intangible—that Meta

13   could have acquired through its alleged acts of extortion.12 She asserts that Defendants extorted

14   “intangible property” from her, Compl. ¶ 346, that Meta “attempts and conspires to obtain

15   contractual, speech and other rights and intellectual property consensually from its members

16   induced by the threat of banning and labeling,” id. ¶ 256, and that Meta compelled her and others

17   “to refrain, against their will, from speaking to or associating with other[s]” Meta disfavored, id.

18   at 347. But she does not identify any intangible property, intellectual property, or contract rights

19   that Defendants attempted to obtain by banning her or others from Facebook, nor would that make

20   any sense. And Loomer’s allegation that Defendants sought to force her and others not to speak to

21   or associate cannot support an extortion claim because her “speech rights” are not “something of

22   value” that Defendants could possibly obtain in order to “exercise, transfer, or sell.” Scheidler, 537

23   12
        Loomer has not alleged extortion even assuming intangible property can support an extortion
24   claim, but that is an open question. The Supreme Court has expressly left the question open, see
     Scheidler, 537 U.S. at 402, as has the Ninth Circuit, see United States v. McFall, 558 F.3d 951,
25   957 & n.7 (9th Cir. 2009). Six years before the Ninth Circuit’s decision in McFall, a judge in this
     District held that a defendant obtains property under the Hobbs Act if he “gains control over the
26
     use of a competitor’s business asset, even if the asset is … intangible,” because in doing so he
27   “does more than coerce by restricting the competing business’s freedom of action.” Dooley v. Crab
     Boat Owners Ass’n, 271 F. Supp. 2d 1207, 1213 (N.D. Cal. 2003). Loomer at most alleges a
28   “restrict[ion]” of her “freedom of action” that would not support an extortion claim under Dooley.
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 1   U.S. at 405. To plead extortion, “[i]t is not enough” to allege that Defendants “gain[ed] some

 2   speculative benefit” by “restricting [Loomer’s] activities”—“an alleged extortionist must actually

 3   appropriate (or attempt to appropriate) the victim’s property.” United States v. McFall, 558 F.3d

 4   951, 957-958 (9th Cir. 2009). Because Loomer does not plausibly allege that Defendants attempted

 5   to acquire property, she cannot state an extortion claim.

 6                     3.     Loomer Has Not Pleaded Material Support Under The ATA

 7             Loomer alleges a criminal violation of the Anti-Terrorism Act’s material-support

 8   provision. As discussed supra, Loomer generally has failed to plausibly allege a pattern of

 9   racketeering activity. But even assuming that some of the alleged predicate acts constitute the

10   requisite pattern, this one certainly is not part of any such pattern. Her claim that Meta has not

11   removed every account and page on Facebook associated with a terrorist organization, see Compl.

12   ¶¶ 294-295, 354, is entirely unrelated to her claim that Meta defrauded her into creating Facebook

13   accounts or extorted her through its dangerous individuals and organizations policy. These alleged

14   predicate acts have different purposes, results, and victims. See Howard, 208 F.3d at 749. Indeed,

15   Loomer at least claims to be an alleged victim of the wire fraud, Hobbs Act, and Travel Act

16   violations but she does not and could plausibly claim to be a victim of the alleged ATA violation.

17             Regardless, Loomer fails to plausibly allege a criminal violation of the ATA, which makes

18   it a crime to “knowingly provide[] material support or resources to a foreign terrorist organization,”

19   or to “attempt[] or conspire[] to do so.” 18 U.S.C. § 2339B(a)(1). To violate the statute, a defendant

20   must both “know[] about the organization’s connection to terrorism,” Holder v. Humanitarian Law

21   Project, 561 U.S. 1, 16-17 (2010), and deliberately aid that organization, United States v. Al

22   Kassar, 660 F.3d 108, 129 (2d Cir. 2011). Loomer has not plausibly alleged that Meta knowingly

23   attempted to provide material support to any designated FTO because she has not plausibly alleged

24   that Meta knew any particular account was affiliated with an FTO and failed to remove it. She

25   vaguely alleges that Hezbollah, Hamas, ISIS, and Al Qaida maintain accounts and pages on

26   Facebook but not that Meta knew of, and declined to remove, any specific account or page. Compl.

27   ¶¶ 294-295.13

28   13
          The allegation that “Defendants” “announc[ed] that the political wings of known foreign terrorist
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 1           To the contrary, as the Complaint alleges and as news articles that it incorporates by

 2   reference make clear, Meta removes a tremendous amount of terrorist content from Facebook, see

 3   Compl. ¶ 149, and any that remains is content that “f[e]ll through the cracks,” Frenkel & Hubbard,

 4   After Social Media Bans, Militant Groups Found Ways to Remain, N.Y. Times (Apr. 19, 2019),

 5   https://www.nytimes.com/2019/04/19/technology/terrorist-groups-social-media.html             (Barnet

 6   Decl. Ex. 13) (cited at Compl. ¶ 294 n.250). In other words, it is content that Meta does not detect.

 7   Thus, Loomer has not plausibly alleged that Meta knew that any particular account was affiliated

 8   with a FTO. See Hussein v. Dahabshiil Transfer Servs. Ltd., 230 F. Supp. 3d 167, 176 (S.D.N.Y.

 9   2017) (inference of knowledge “generally implausible when the only allegations are that the

10   defendants provided ‘routine’ banking services”), aff’d 705 F. App’x 40 (2d Cir. 2017). Nor has

11   she plausibly alleged the requisite intent: Meta cannot intentionally provide an account to a FTO

12   if it is not even aware that it is providing an account to that particular user.

13                   4.      Alleged Violations Of The Smith Act Are Not RICO Predicate Acts

14                           And Not Plausibly Pled

15           Under RICO, “‘racketeering activity’ consists of no more and no less than commission of

16   a predicate act.” Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 495 (1985) (citing 18 U.S.C.

17   § 1961(1)); see Smith v. Levine Leichtman Cap. Partners, Inc., 723 F. Supp. 2d 1205, 1214 (N.D.

18

19   organizations could use its platforms,” Compl. ¶ 354, improperly lumps together all defendants.
     As this Court has noted, “grouping multiple defendants together in a broad allegation is insufficient
20   to provide the defendants with fair notice of the claims against them” and violates the pleading
     requirements of Rule 8. Glaser v. Nationstar Mortg., LLC, 2017 WL 1861850, at *5 (N.D. Cal.
21   May 9, 2017). Loomer therefore cannot “allege[] ‘that multiple parties did an act, without
     identifying which party did what specifically.’” McCracken v. Wells Fargo Bank NA, 2017 WL
22
     1428716, at *2 (N.D. Cal. Apr. 20, 2017). But Loomer identifies only a single statement by a
23   Twitter employee about Twitter’s past practices. Id. ¶ 296. She alleges no such statement by Meta
     or Mr. Zuckerberg. And the article the allegation incorporates by reference specifically notes that
24   Meta does not “keep up the content of … Hezbollah and Hamas.” Birnbaum, Twitter Takes Down
     Hamas, Hezbollah-Affiliated Accounts After Lawmaker Pressure, The Hill (Nov. 4, 2019),
25   https://thehill.com/policy/technology/468866-twitter-takes-down-hamas-hezbollah-affiliated-
     accounts-after-lawmaker (Barnet Decl. Ex. 14) (cited at Compl. ¶ 296 n.252). Separately, her
26
     allegations that Meta allowed Taliban supporters to use Facebook cannot support an ATA claim
27   because, as she concedes, the Taliban is not a designated FTO. See 18 U.S.C. § 2339B(g)(6)
     (“[T]he term ‘terrorist organization’ means an organization designated as a terrorist organization
28   under section 219 of the Immigration and Nationality Act.”); Compl. ¶ 297-298.
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 1   Cal. 2010) (“‘Racketeering activity’ is defined in 18 U.S.C. § 1961(1)(B) as including any act

 2   ‘indictable’ under certain enumerated federal criminal statutes ….”). A RICO claim “fails as a

 3   matter of law” if based on statutory violations that “are not within the enumerated predicate acts

 4   that may amount to a ‘pattern of racketeering activity.’” Banks v. ACS Educ., 638 F. App’x 587,

 5   589 (9th Cir. 2016). Because violations of the Smith Act, 18 U.S.C. § 2385, are not predicate acts

 6   under RICO, id. § 1961(1), Loomer’s related allegations cannot support her RICO claim.

 7            In any event, Loomer comes nowhere close to pleading a Smith Act violation. The statute

 8   prohibits various forms or advocacy or organizing with the intent to overthrow the government by

 9   force or violence. See Dennis v. United States, 341 U.S. 494, 499 (1951). The defendant must

10   promote an “effort to instigate action to that end,” and possess a “specific intent to accomplish

11   [government] overthrow.” Yates v. United States, 354 U.S. 298, 318, 331 (1957), overruled on

12   other grounds by Burks v. United States, 437 U.S. 1, 8-10 (1978). None of Loomer’s allegations

13   plausibly establish these required elements. Any allegations that Meta advocated the overthrow of

14   the government by removing content related to efforts to contest the 2020 presidential election are

15   frivolous. Compl. ¶¶ 303, 307-310. And allegations that Meta allowed content encouraging others

16   “to harass and disrupt the lives of government officials and post direct threats,” id. ¶ 302, removed

17   pro-law enforcement content, id. ¶ 306, or allowed anti-law enforcement content, id. ¶ 304-05, fall

18   well short of plausibly alleging the existence of any efforts to overthrow the government, let alone

19   that Meta advocated such efforts or “instigate[d] action to that end,” Yates, 354 U.S. at 318.14

20   III.     LOOMER HAS NOT STATED A CLAIM FOR RICO CONSPIRACY

21            Loomer’s RICO conspiracy claim fails as well. Because she has not plausibly alleged a

22   substantive RICO offense, see supra Part II, she “cannot claim that a conspiracy to violate RICO

23   existed.” Howard, 208 F.3d at 751. Her conspiracy claim fails for the additional reason that the

24   Complaint does not plausibly allege an agreement between Meta and others to commit the alleged

25   predicate acts. Baumer v. Pachl, 8 F.3d 1341, 1347 (9th Cir. 1993). To survive a motion to dismiss

26   a conspiracy claim, a plaintiff must put forward “allegations plausibly suggesting (not merely

27
     14
       Like the alleged ATA predicate act, the alleged Smith Act predicate also is not plausibly part of
28   any pattern of racketeering activity. It is entirely unrelated to her wire fraud and extortion claims.
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 1   consistent with) agreement.” Twombly, 550 U.S. at 557. Loomer’s allegations that Meta “conspired

 2   and agreed to” engage in racketeering activity, see Compl. ¶ 368, are entirely conclusory. They do

 3   not “plausibly suggest an illicit accord.” Ashcroft v. Iqbal, 556 U.S. 662, 680 (2009). Instead, they

 4   are precisely the sort of “bare allegations … [that] provide no basis to infer assent to contribute to

 5   a common enterprise.” Baumer, 8 F.3d at 1347; see also Iqbal, 556 U.S. at 680 (alleged conduct

 6   “d[oes] not plausibly suggest an illicit accord” when it is “not only compatible with, but indeed …

 7   more likely explained by, lawful, unchoreographed free-market behavior.”). See supra Part II.A.

 8   IV.    SECTION 230 BARS LOOMER’S CLAIMS

 9          Loomer’s claims fail for the independent reason that they are barred by Section 230. As

10   the Ninth Circuit has repeatedly recognized, “any activity that can be boiled down to deciding

11   whether to exclude material that third parties seek to post online is perforce immune under section

12   230” as a traditional editorial function. Fair Hous. Council of San Fernando Valley v.

13   Roommates.Com, LLC, 521 F.3d 1157, 1170-1171 (9th Cir. 2008) (en banc). Section 230 bars a

14   claim when: “(1) Defendant is a ‘provider or user of an interactive computer service’; (2) the

15   information for which Plaintiffs seeks to hold Defendant liable is ‘information provided by another

16   information content provider’; and (3) Plaintiffs’ claim seeks to hold Defendant liable as the

17   ‘publisher or speaker’ of that information.” Sikhs for Justice “SFJ,” Inc. v. Facebook, Inc., 144 F.

18   Supp. 3d 1088, 1094-1095 (N.D. Cal. 2015), aff’d, 697 F. App’x 526 (9th Cir. 2017). Each

19   condition is satisfied as to Loomer’s claims.

20          First, both Meta and Mr. Zuckerberg are “provider[s]” of an “interactive computer

21   service.” Facebook is an “interactive computer service” that Meta provides. See Calise v. Meta

22   Platforms, Inc., 2022 WL 1240860, at *2 (N.D. Cal. Apr. 27, 2022); Sikhs for Justice, 144 F. Supp.

23   3d at 1093; see also Dyroff v. Ultimate Software Grp., 934 F.3d 1093, 1097 (9th Cir. 2019). As for

24   Mr. Zuckerberg, Loomer seeks to hold him liable for “his role in making [an interactive computer

25   service] available.” Klayman v. Zuckerberg, 753 F.3d 1354, 1357-1358 (D.C. Cir. 2014); Compl.

26   ¶¶ 216-217, 282, 292-293. He is thus subject to the same Section 230 protections as Meta.

27          Second, Loomer’s claims all arise out of content created by third parties, not by Meta. All

28   of Loomer’s claims complain about Meta’s treatment of content that she and other third parties
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 1   posted to Facebook. See Compl. ¶¶ 276, 279, 284 (wire fraud); id. ¶¶ 256, 258 (Hobbs Act); id. ¶¶

 2   263, 265, 270 (Travel Act); id. ¶¶ 294-295, 298 (ATA); id. ¶ 302-309 (Smith Act). Loomer does

 3   not allege that either Meta or Mr. Zuckerberg played any role in the creation of the content that

 4   was displayed on or removed from Facebook. Because this content was “created entirely by

 5   individuals or entities” other than Meta and Mr. Zuckerberg, this Section 230 prerequisite is

 6   satisfied. Sikhs for Justice, 144 F. Supp. 3d at 1094; see also, e.g., Fyk v. Facebook, Inc., 808 F.

 7   App’x 597, 598 (9th Cir. 2020); Federal Agency of News LLC v. Facebook, Inc., 395 F. Supp. 3d.

 8   1295 (N.D. Cal. 2019).

 9          Third, Loomer’s claims all seek to impose liability on Meta for its decision to remove her

10   and others’ content and thus impermissibly seek to treat Meta as a publisher of third-party content.

11   “[W]hat matters is not the name of the cause of action,” but whether the claim seeks to impose

12   liability for “publishing conduct”—such as “reviewing, editing, and deciding whether to publish

13   or to withdraw from publication third-party content.” Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1101-

14   1102 (9th Cir. 2009). This flexible test prevents plaintiffs from “circumvent[ing] the CDA’s

15   protections through ‘creative’ pleading.” Kimzey v. Yelp! Inc., 836 F.3d 1263, 1266 (9th Cir. 2016).

16   Courts have repeatedly held that Section 230 mandates dismissal of RICO claims alleging wire

17   fraud where, as here, those claims are based on an interactive computer provider’s publishing

18   conduct. E.g., Icon Health & Fitness, Inc. v. ConsumerAffairs.com, 2017 WL 2728413, at *5 (D.

19   Utah June 23, 2017) (alleged removal of positive reviews); Baldino’s Lock & Key Serv., Inc. v.

20   Google, Inc., 88 F. Supp. 3d 543, 547 (E.D. Va. 2015) (alleged publication of fraudulent ads);

21   Manchada v. Google, 2016 WL 6806250, at *3 (S.D.N.Y. Nov. 16, 2016) (alleged publication of

22   false content). Courts likewise have held that Section 230 bars claims based on publishing conduct

23   when styled as extortion claims, Fyk v. Facebook, Inc., 2019 WL 11288576, at *1 (N.D. Cal. June

24   18, 2019) (alleged removal of user content), aff’d, 808 F. App’x 597 (9th Cir. 2020), and material

25   support claims, Force, 934 F.3d at 65 (alleged publication of content linked to terrorism).

26          Loomer seeks to hold Meta and Mr. Zuckerberg liable as publishers. She alleges that Meta

27   committed wire fraud by denying her “promised access” to Facebook, Compl. ¶ 217, and enforcing

28   Facebook’s Community Standards against her and other third-party content creators in an
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 1   “artific[ial]” manner. See id. ¶ 344. Her extortion claims similarly rest on Meta’s decisions to

 2   “ban[]” her content and the content of other third parties that Meta “labeled a dangerous individual

 3   or group.” See id. ¶ 347. And each of the allegations Loomer makes in support of her ATA and

 4   Smith Act claims involve the removal (or failure to remove) third-party content. See id. ¶¶ 288-

 5   312. Under Section 230, “publication involves reviewing, editing, and deciding whether to publish

 6   or to withdraw from publication third-party content.” Barnes, 570 F.3d at 1102 (citing

 7   Roommates.Com, 521 F.3d at 1171). Section 230 therefore precludes liability for removal, as well

 8   as publication, of third-party content. See, e.g., King v. Facebook, Inc., 2021 WL 5279823, at *11-

 9   13 (N.D. Cal. Nov. 12, 2021) (account removed for violating Community Standards); Fyk, 2019

10   WL 11288576, at *1-2 (content removed for violating Community Standards); Zimmerman v.

11   Facebook, Inc., 2020 WL 5877863, at *1 (N.D. Cal. Oct. 2, 2020) (access to user accounts

12   blocked); Sikhs for Justice, 144 F. Supp. 3d at 1095 (content removed). Though Loomer attempts

13   to plead around Section 230 for the fifth time, her claims all seek to impose liability on Meta for

14   its removal and publication of third-party content. They are thus squarely barred by Section 230.

15   V.     DISMISSAL SHOULD BE WITH PREJUDICE

16          The Complaint should be dismissed with prejudice because none of these defects can be

17   cured by amendment. This is Loomer’s fourth lawsuit challenging Meta’s decision to ban her

18   account. See Sephery-Fard v. Select Portfolio Servicing, Inc., 2015 WL 1063070, at *5 (N.D. Cal.

19   Mar. 10, 2015) (denying leave to amend because of “Plaintiff’s pattern of filing serial lawsuits

20   arising out of the same nucleus of facts and with respect to the same Property”). As explained

21   supra Part I, her claims are barred by res judicata. Her suit thus must be dismissed with prejudice.

22   See Factory Direct Wholesale, LLC v. iTouchless Housewares & Prods, Inc., 411 F. Supp. 3d 905,

23   918 (N.D. Cal. 2019). But even beyond that, before filing this motion, Meta’s counsel sent

24   Loomer’s counsel a letter identifying the defects with her claims and urging her to drop this lawsuit

25   or, if she believed these defects could be cured, to propose amendments that would address them.

26   See Barnet Decl. Ex. 1. Loomer nonetheless chose to proceed with this defective Complaint. Given

27   that choice, and because Section 230 is meant to protect against “protracted legal battles,”

28   Roommates, 521 F.3d at 1175, dismissal should be with prejudice.
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 1                                  CERTIFICATE OF SERVICE

 2          I hereby certify that on August 8, 2022, I electronically filed the above document with the

 3   Clerk of the Court using CM/ECF which will send electronic notification of such filing to all

 4   registered counsel.

 5
                                                       By:   /s/ Sonal N. Mehta
 6    Dated: August 8, 2022                                   Sonal N. Mehta
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